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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

In Re:                                            :   Chapter 11
                                                  :
Woodbridge Group of Companies, LLC,               :   Case No.: 17-12560-BLS
                                                  :
                      Debtors.                    :
                                                  :

Michael Goldberg,                                 :
                                                  :
         Plaintiff,                               :   Adv. Proc. No.: 19-51071
                                                  :
v.                                                :
                                                  :   MEDIATION STATUS REPORT
Eduardo G. Diaz and Diaz Retirement               :
Consultants,                                      :
                                                  :
         Defendant.                               :
                                                  :

In accordance with this Court's Order Assigning Adversary Proceeding to Mediation, dated
February 4, 2022, the undersigned mediator reports that the mediation has not been completed
and hereby provides a projected schedule for completion.

The undersigned mediator expects that the mediation will be concluded no later
than
                           (insert date) for the following reason(s):

             ______       A mediation session is scheduled to occur on ___________________.

             ______       A mediation session needs to be scheduled, but the mediator has been
                          unable to arrange a date and time.

                X         OTHER: Additional exchange of information between the parties taking
                          place and mediation currently being scheduled.




Dated: April 19, 2022                                 Mediator

                                                      /s/ Leslie A. Berkoff
                                                      Leslie A. Berkoff (#4584)
                                                      MORITT HOCK & HAMROFF LLP
                                                      400 Garden City Plaza
                                                      Garden City, NY 11530
                                                      (516) 873-2000
cc:      Counsel of Record
         Pro Se Parties


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